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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                       Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.


               PLAINTIFFS’ BRIEF IN SUPPORT OF
               MOTION FOR ADVERSE INFERENCES
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I.    INTRODUCTION

      Plaintiffs respectfully request the Court to draw a small set of narrow

adverse inferences based on the deposition testimony of Misty Hampton, Cathy

Latham and Eric Chaney (the “Coffee County Witnesses”) and corroborating

evidence in the record. Each witness invoked the Fifth Amendment privilege

against self-incrimination in response to specific questions about their involvement

in the Coffee County breaches in January 2021. The inferences Plaintiffs seek

concern specific, concrete facts for which the invocations are the only available

proof. Plaintiffs are not seeking an inference of Defendants’ liability.

      At the December 15, 2023 pretrial conference, the Court ruled that “[t]he

testimony of [the Coffee County Witnesses] concerning the Coffee County breach

is plainly relevant and admissible in this case,” but deferred a decision on whether

adverse inferences were warranted until presented with the specific testimony and

inferences requested. Dkt. 1749 at 2. While the Coffee County Witnesses invoked

their Fifth Amendment privilege broadly in response to some or many questions

about the breaches—including who was there, what was done, on whose actual or

apparent authority, when the State found out, and what the State did in response—

Plaintiffs seek to admit only a very small fraction of their Fifth Amendment

invocations to support a narrow set of specific adverse inferences. The Court can

determine what weight it will assign to the requested inferences—if any—in




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rendering a judgment on Plaintiffs’ claims when it has the benefit of the full

evidentiary record.

II.   PLAINTIFFS’ PROPOSED ADVERSE INFERENCES

      Misty Hampton, Eric Chaney, and Cathy Latham were each integrally

involved in the Coffee County breaches. The record establishes that all three were

present on January 7, 2021, when Sullivan Strickler improperly obtained forensic

images of election equipment in Coffee County. See Ex. 1 (PX-493); Ex. 2, Trial

Vol. 6A Tr. at 142:24-143:5, 158:2-25, 137:23-138:2. It also establishes that Ms.

Latham coordinated the January 7 breach with Sullivan Strickler, and that Ms.

Hampton and Mr. Chaney participated directly in providing Sullivan Strickler—

and others—unauthorized access to the Coffee County voting equipment in its

operational environment. Ex. 2 at 135:22-136:5, 158:2-25; 159:18-25.

      There are specific facts, however, for which the witnesses’ Fifth

Amendment invocations are the only available proof, despite Plaintiffs’ diligent

efforts to conduct broad discovery into the Coffee County breaches. Those

specific factual inferences are supported, however, by corroborating evidence.

      The specific adverse inferences Plaintiffs seek are as follows:




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    Witness       Dep. Tr.               Testimony             Adverse Inference
    Latham        Ex. 3 at    Q. You were in Washington       Ms. Latham was
                  67:3-14,    DC on or around December        aware that a war
                  69:4-11     17 of 2020, correct? A. I       room was set up by
                              don't remember what days I      individuals
                              went. Q. Do you recall          associated with the
                              being in DC in December of      Trump campaign at
                              2020, right? A. Yes. Q. And     the Willard hotel
                              you spent some time at the      purportedly looking
                              Willard Hotel while you         for election fraud.1
                              were there? A. That’s where
                              I slept, yes.                   Ms. Latham was in
                                                              that war room.
                                            ***

                              Q. Ms. Latham, my question
                              to you is, you were aware
                              that there was a war room set
                              up by individuals associated
                              with the Trump campaign at
                              the Willard Hotel
                              purportedly looking for
                              election fraud, right?
                              A. Fifth Amendment.
                              Q. Were you ever in that war
                              room?
                              A. Fifth Amendment.



1
  See Sarah D. Wire, Prosecuters are focused on a rural Georgia county in
Trump’s 2020 election case. Here’s why, L.A. Times (Oct. 26, 2023),
https://www.latimes.com/politics/story/2023-10-26/prosecutors-are-focused-on-a-
rural-georgia-county-in-trumps-2020-election-case-heres-why. The Court may
rely on inadmissible evidence in evaluating the admissibility of evidence. See,
e.g., Curtis v. Perkins, 781 F.3d 1262, 1268 (11th Cir. 2015) (“‘The court must
decide any preliminary question about whether . . . evidence is admissible. In so
deciding, the court is not bound by evidence rules, except those on privilege.’”
(quoting Fed. R. Evid. 104(a)).



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Witness     Dep. Tr.             Testimony              Adverse Inference
Latham       Ex. 3 at Q. So you were in DC             Ms. Latham was in
           69:22-70:3 staying at the Willard Hotel     DC staying at the
                      on or around December 17,        Willard Hotel on or
                      2020, the same day that one      around December
                      of the two executive order --    17, 2020.
                      draft executive orders was
                      drafted and you’re saying
                      today that you can’t tell us
                      anything about your
                      involvement with that; is that
                      right? A. Fifth Amendment.
Chaney       Ex. 4 at Q. Okay. So if we look at        Eric Chaney filmed
             35:16-   Exhibit 4, look at complaint     the YouTube video
              36:12   two on Page 1. Do you see        posted to the
                      that? A. I do. Q. And it         internet on or
                      reads: “A video surfaced on      around November
                      YouTube where it showed          10, 2021,
                      Coffee County election           introduced as PX-
                      supervisor Misty Martin          496.
                      discussing the ways in which
                      the election software could
                      be manipulated.” Do you see
                      that? A. I do. Q. And Misty
                      Martin is the same person as
                      Misty Hampton? A. Yes. Q.
                      Okay. So we’re talking about
                      the, at this time, the Coffee
                      County election supervisor;
                      right? A. Yes. Q. Okay. And
                      are you familiar with that
                      YouTube video? A. Yes. Q.
                      You filmed that video; right?
                      A. Fifth Amendment.
Chaney       Ex. 4 at Q. In the days leading up to     Eric Chaney had
            99:15-19, January 7 of 2021, you           multiple
             99:21-   reached out to Misty             conversations with
             100:11   Hampton and asked if she’d       Misty Hampton
                      be willing to work with folks    about getting Scott
                      to get access to the voting      Hall and others


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Witness     Dep. Tr.              Testimony              Adverse Inference
                       equipment in her elections       access to voting
                       office; right? THE               equipment in the
                       WITNESS: Fifth                   Coffee County
                       Amendment. BY MR.                Elections Office in
                       CROSS: Q. You had                the days leading up
                       multiple conversations with      to January 7, 2021.
                       her about that; right? A.
                       Fifth Amendment. Q. You          Eric Chaney
                       told her specifically that one   worked with Cathy
                       of those individuals would       Latham to organize
                       be a man named Scott Hall;       getting Scott Hall
                       right? A. Fifth Amendment.       access to voting
                       Q. Cathy Latham was one of       equipment in the
                       the key individuals who          Coffee County
                       helped organized this with       Elections Office.
                       Scott Hall; right? A. Fifth
                       Amendment. Q. You and
                       Ms. Latham worked together
                       to organize this; correct? A.
                       Fifth Amendment.
Chaney      Ex. 4 at   Q. All right. Come to Page       Eric Chaney was
            123:15-    22 of 24. If you come down       aware as of January
            124:13     in the middle, do you see        6, 2021, that Scott
                       there’s a text January 6th of    Hall was coming to
                       2021 at 4:26 p.m.? A. I do.      the Coffee County
                       Q. And on that day, Ms.          Elections Office to
                       Hampton wrote to you:            scan ballots.
                       “Scott Hall is on the phone
                       with Cathy about wanting to
                       come scan our ballots from
                       the general election like we
                       talked about the other day. I
                       am going to call you in a
                       few.” Do you see that? A. I
                       do. Q. “Cathy” refers to
                       Cathy Latham; right? A.
                       Fifth Amendment. Q. So you
                       were aware, at least as of
                       January 6th of 2021, that


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Witness     Dep. Tr.              Testimony             Adverse Inference
                       Scott Hall was coming in to
                       the Coffee County election
                       office at least to access a
                       copy, to scan ballots; right?
                       A. Fifth Amendment. Q. So
                       when you testified earlier
                       that your only familiarity
                       with Scott Hall was through
                       an open records request, that
                       was a lie; right, sir? THE
                       WITNESS: Fifth
                       Amendment.
Chaney      Ex. 4 at   Q. If you come to the top of    Misty Hampton and
            127:10-    the next page, January 7 of     Eric Chaney
             128:7     2021 at 7:24 p.m., you send     communicated by
                       a phone number to Ms.           phone with Robert
                       Hampton. Do you see that?       Sinners on the
                       A. I do. Q. Whose phone         evening of January
                       number is that? A. I don’t      7, 2021, concerning
                       know. Q. Why did you send       the copying of
                       her that number? A. I don’t     voting software and
                       know. Q. Nothing you can        data that occurred
                       tell me about that phone        that day in the
                       number? A. Fifth                Coffee County
                       Amendment. Q. That phone        Elections Office.
                       number is for Robert
                       Sinners, S-I-N-N-E-R-S;
                       right? A. I’m not sure. Q.
                       You sent a phone number to
                       Ms. Hampton on January 7,
                       2021 and you have no idea
                       whose number it is? A. Fifth
                       Amendment. Q. I’m going to
                       ask you again, Mr. Chaney.
                       You are aware that that
                       phone number is registered
                       to Robert Sinners; right? A.
                       Fifth Amendment.



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Witness     Dep. Tr.              Testimony             Adverse Inference
Hampton     Ex. 5 at    And did he [Jeffrey Lenberg]   Jeffrey Lenberg
            119:2-5     ask you to make any copies     asked Misty
                        of any of the equipment or     Hampton to make
                        the software or the thumb      copies of equipment
                        drives or anything else in     or software or
                        there? A: I'm going to plead   thumb drives in the
                        the Fifth on that.             Coffee County
                                                       Elections Office.
Hampton      Ex. 5 at   Q Okay. Do you recall          Misty Hampton
            124:5-11,   referring to the activities of used “measuring
            124:13-14   Mr. Lenberg and Mr. Logan your desk” as a
                        as, quote, measuring your      code to disguise the
                        desk? Do you recall that?      activities of Jeffrey
                        A: I do. Q And why did you Lenberg and Doug
                        use that code to describe the Logan in the Coffee
                        work that they were doing?     County Elections
                        THE WITNESS: I plead the Office improperly
                        Fifth on that.                 accessing election
                                                       equipment.
Hampton      Ex. 5 at   Q. Did you inform anyone at Misty Hampton did
             244:16-    the Secretary of State’s       not tell the
              245:4     office before Mr. Lenberg      Secretary of State’s
                        and Mr. Logan came to the      office that Mr.
                        Coffee County Office, as       Lenberg and Mr.
                        you described in your          Logan were coming
                        testimony, in late January of to the Coffee
                        2021? A. I did not. Q And      County Elections
                        why did you not let the        Office in January
                        Secretary's office know? [A:] 2021 because she
                        I take the Fifth               wanted to conceal
                                                       what they were
                                                       doing.




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III.   THE LIBUTTI FACTORS SUPPORT PLAINTIFFS’ REQUESTED
       ADVERSE INFERENCES

       The inferences the Court may draw hinge on the application of four non-

exclusive factors. Coquina Invs. v. TD Bank, N.A., 760 F.3d 1300, 1311 (11th Cir.

2014) (citing LiButti v. United States, 107 F.3d 110, 123 (2d Cir. 1997)). Under

these factors, the Court is to evaluate the connection between the non-party witness

and the opposing party, considering: (1) “the nature of the relevant relationships,”

(2) “the degree of control of the party over the nonparty witness,” (3) the

“compatibility” of their interests in the litigation, and (4) “the role of the non-party

witness in the litigation.” Coquina, 760 F.3d at 1311. Ultimately, the Court is to

assess the “overarching concern” of “whether the adverse inference is trustworthy

under all of the circumstances and will advance the search for the truth.” Id. This

analysis is highly fact specific. The factors need to be “applied flexibly” and on a

case-by-case, question-by-question basis. Id.

       Plaintiffs can—and will—establish all elements of their claims even if the

Court declines to draw the requested adverse inferences so the Court need not rely

on any of the requested inferences to enter a judgment for Plaintiffs and award the

relief sought. But the requested inferences are nonetheless supportive of Plaintiffs’

claims and should be considered by the Court. All four of the LiButti factors

support admitting the Coffee County Witnesses’ invocations and drawing adverse

inferences, which are “trustworthy under all of the circumstances and will advance



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the search for the truth,” regarding the Coffee County breaches and their

implications for the security of Georgia’s voting system in future elections. Id. at

1311.

        A.    The Coffee County Witnesses’ Relationship to the State Supports
              the Adverse Inferences

        The first LiButti factor is the “nature of the relevant relationships.”

Coquina, 760 F.3d at 1311. The relationship between the State and these witnesses

does not create reason to doubt the sincerity of the witnesses’ Fifth Amendment

invocations. Rather, there is an unrefuted connection between Defendants in this

case and county election officials like Mr. Chaney and Ms. Hampton. See Ex. 6,

Trial Vol. 5A Tr. at 216:10-15 (“Then the cybersecurity overall is State-owned

equipment but counties play a vital role throughout. So it is sort of a -- I don’t

want to call it a partnership necessarily because the legal authority to protect the

equipment I believe lies with the county. . . . I just know that we kind of work

together as a team.”).    As the Court has already found, Defendants are responsible

for selecting the uniform voting system in Georgia, maintaining its functionality,

and ensuring that any vulnerabilities to the system are mitigated. Dkt. 1705 at 98.

Under Georgia law, the State provides the counties with the election equipment

which the State runs. Ga. Code § 21-2-300(a)(1). And it depends in part on the

counties for the “physical security of their own voting equipment.” Dkt. 1705 at

98; Ex. 6 at 135:20-136:1. Ms. Hampton and Mr. Chaney were entrusted with the



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voting equipment owned by the State to administer at the State’s direction—and

the equipment is so important and sensitive as to be deemed critical infrastructure.

Ex. 7, Hamilton Dep. Tr. at 97:5-10.

      The State also controls how the counties operate the equipment during

elections. See Ex. 8 (PX-406); Ex. 11, Oct. 12, 2022 SOS 30b6 (Sterling) Dep. Tr.

at 198:25-199:18. County officials frequently contact the State for direction on

how to handle issues relating to election equipment. See, e.g., Ex. 9 (PX-103); Ex.

10 (PX-104). And the State has told Georgia counties that they may not take any

actions related to the voting system that are not authorized by Defendants. Ex. 8;

Ex. 6 at 166:23-167:13. The evidence shows that counties answer to the State

regarding election security and procedures. Ex. 11 at 205:14-206:1 (“[G]enerally

speaking, [if] the Secretary of State’s Office says to do something, [the counties]

generally do it, because they don’t want to go before the State Election Board for

having done something wrong.”).

      Defendants argue that this factor weighs against an adverse inference

because the Coffee County Witnesses were not employed by the Secretary of State.

Dkt. 1723 at 3. But their superficial analysis sidesteps the thrust of this factor.

The closeness of the relationship of the party and non-party witness is merely a

proxy for the likelihood that the non-party would render testimony to purposefully

damage the objecting party. LiButti, 107 F.3d at 123. This factor turns on whether



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the relationship between the non-party and the objecting party evidences a

likelihood that the non-party would “falsely claim the Fifth Amendment in order to

torpedo [the party’s] case.” N.H. Ins. Co. v. Blue Water Off Shore, LLC, 2009 WL

792530, at *8 (S.D. Ala. Mar. 23, 2009) (emphasis added).

      Defendants offer no evidence suggesting that is likely here—because they

cannot. At the time of their depositions, each Coffee County Witnesses’

involvement in the breach was documented in the press as well as surveillance

video.2 See Ex. 1 (PX-493). Each of the Coffee County witnesses faced real

criminal exposure at the time of their testimony arising from the conduct they were

questioned about—as the ensuing investigations and indictments by the Fulton

County District Attorney soon confirmed.3 Every witness invoked the Fifth

Amendment on the advice of counsel. Ex. 4, Chaney Dep. Tr. at 19:17-20:4; Ex.

5, Hampton Dep. Tr. at 54:20-55:6; Ex. 3, Latham Dep. Tr. at 18:2-18:18. Both

Ms. Hampton and Ms. Latham have been indicted for their involvement. Ex. 2 at

2
 Emma Brown & Amy Gardner, Georgia county under scrutiny after claim of
post-election breach, Washington Post, (May 13, 2022),
https://www.washingtonpost.com/investigations/2022/05/13/coffee-county-misty-
hampton-election/; Jose Pagliery, Texts Reveal GOP Mission to Breach Voting
Machine in Georgia, Daily Beast (June 5, 2022),
https://www.thedailybeast.com/how-a-coffee-county-gop-chair-coordinated-a-
voting-machine-breach.
3
 See Tamar Hallerman, Why Fulton Prosecutors Are Interested in Coffee County
Data Breach, Atlanta Journal-Constitution (Sept. 8, 2022),
https://www.ajc.com/politics/why-fulton-prosecutors-are-interested-in-a-coffee-
county-data-breach/QDZMSXCAGBHLPLLBEVL4W7FSMM/.


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212:20-213:2; see also Georgia v. Trump, No. 23SC188947 (Fulton Cnty. Super.

Ct. Aug. 14, 2023); Dkt. 1705 at 69.

      The witnesses had nothing to gain from false invocations of the Fifth

Amendment, nor is there any evidence whatsoever suggesting they took the Fifth

to torpedo Defendants’ case. Every indication is that they invoked the Fifth

Amendment because they were genuinely concerned about incriminating

themselves—and for good reason. Those invocations are inherently trustworthy,

as are the narrow inferences Plaintiffs seek. See N.H. Ins. Co., 2009 WL 792530,

at *8 (adverse inference was trustworthy because witness’s invocation was made

on advice of counsel and on concern of real prosecution, not “fanciful future

prosecution”). This factor supports admissibility of the invocations and Plaintiffs’

requested inferences.

      B.     Defendants Exercise Sufficient Control Over the Coffee County
             Witnesses Regarding the Conduct at Issue

      For the same reasons that the nature of the relationship between the Coffee

County Witnesses and the State supports admissibility of the Fifth Amendment

invocations, Defendants had sufficient control over Mr. Chaney and Ms. Hampton

to attribute their statements to the State.4 The pertinent question under the second


4
 Plaintiffs do not contend here that Defendants exercised control over Ms. Latham,
who was not employed by Coffee County. Nevertheless, the LiButti factors must
be applied flexibly and no one factor is dispositive. The underlying question for
each of the factors is whether the invocation of privilege is trustworthy. Each of


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LiButti factor is “[t]he degree of control which the party has vested in the non-

party witness in regard to the key facts and general subject matter of the litigation.”

LiButti, 107 F.3d at 123. The question is intended to inform “the trial court

whether the assertion of the privilege should be viewed as akin to testimony

approaching admissibility under Fed. R. Evid. 801(d)(2) and may accordingly be

viewed … as a vicarious admission.” Id.

      Defendants set the parameters within which county officials, including Mr.

Chaney and Ms. Hampton, are required to operate regarding their handling of

Georgia’s voting system and its components, and relied on them to execute their

duties according to Defendants’ rules and direction. In other words, the State

exercised a high degree of control over Ms. Hampton and Mr. Chaney regarding an

issue at the core of this case: the physical security of election equipment. That

satisfies the second factor for admissibility of their invocations here. Cf. Fair

Fight Action, Inc. v. Raffensperger, 599 F. Supp. 3d 1337, 1341 (N.D. Ga. 2022)

(the “relevant inquiry” for whether a non-party should be considered a party’s

“agent” under Rule 801(d)(2)(D) “is whether [the witness] was authorized to act

for his principal … concerning the mater about which he allegedly spoke.” (citing

Wilkinson v. Carnival Cruise Lines, Inc., 920 F.2d 1560, 1566 (11th Cir. 1991))).


the other factors suggests so with respect to Ms. Latham. And the fact that she was
subsequently indicted for her conduct in Coffee County further establishes that her
invocation was no sham and can be trusted.


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      C.     The Coffee County Witnesses’ Interests are Compatible with the
             State’s

      The interests of the Coffee County Witnesses and Defendants are

compatible. Instead of arguing this factor, Defendants merely offer the conclusory

remark that “[i]f any alignment of interests with respect to the outcome of the

litigation is present between these non-party witnesses and the parties to this case,

it is an alignment with Plaintiffs’ interests in prohibiting use of the Dominion

BMD System.” Dkt. 1723 at 5. That claim is nonsensical and irrelevant. This

factor assesses whether the assertion of privilege advances the interests of both the

non-party witness and the affected party in the outcome of the litigation—not

whether the party and non-party are theoretically aligned on a potential outcome of

the litigation. LiButti, 107 F.3d at 123.

      Here, Defendants and the Coffee County Witnesses are indeed aligned with

respect to the Fifth Amendment invocations. Mr. Chaney, Ms. Hampton, and Ms.

Latham would have little reason to take the Fifth Amendment if their actions were

truly beyond legal scrutiny. Their exposure to criminal liability for their breach of

the voting system is in lockstep with Defendants’ own exposure to civil liability for

their failure to secure the system against that and similar breaches, both before the

breach occurred and after by failing to hold the offenders accountable or to

implement critical mitigation measures to protect against similar or worse breaches

in the future. Ex. 2 at 234:12-23; 261:2-15. By asserting the privilege and limiting



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their exposure to criminal liability, the Coffee County Witnesses also limited the

scope of evidence that could be used to prove Defendants’ failure to properly

safeguard Georgia’s elections and the breaches confirming that ongoing failure. In

other words, the Coffee County Witnesses deprived Plaintiffs of admissions that

would help prove up Plaintiffs’ claims, thereby establishing the compatibility of

their interests with the Defendants in this case. This strongly supports

admissibility of the invocations and drawing Plaintiffs’ requested inferences.

      D.     The Coffee County Witnesses are Central to this Litigation

      The fourth LiButti factor asks the Court to consider whether the non-party

witnesses are “key figures” playing “controlling role[s] in respect to any …

underlying aspect[]” of the case. 107 F.3d at 123-24. This is indisputable. In

denying Defendants’ summary judgment motions, the Court described the Coffee

County breaches as “[p]erhaps the most significant development since the 2020 PI

phase of this case.” Dkt. 1705 at 49. Indeed, the breaches were a watershed

moment in confirming Defendants’ ongoing failure to adequately safeguard

Georgia elections. They have featured prominently at trial for that reason. And

Mr. Chaney, Ms. Hampton, and Ms. Latham are key actors in the breaches. This

factor also strongly supports admissibility of their invocations and Plaintiffs’

requested adverse inferences.




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      E.     Corroborating Evidence Supports the Requested Inferences

      All four LiButti factors strongly support the admissibility of the Coffee

County Witnesses’ invocations and the trustworthiness of Plaintiffs’ proposed

adverse inferences, but there are also numerous other assurances that an adverse

inference from specific questions about the Coffee County breaches directed at

these witnesses will be trustworthy and will advance the search for the truth. See

Coquina, 760 F.3d at 1311 (the “overarching concern” is “whether the adverse

inference is trustworthy under all of the circumstances and will advance the search

for the truth.”). The inferences are supported by direct evidence that each witness

took part in an unlawful breach. For example, there is security footage confirming

the breaches and the Coffee County Witnesses’ direct involvement, as well as logs

showing that data was actually exfiltrated from Coffee County and provided to

other unauthorized persons. See, e.g., Ex. 1 (PX-493); Ex. 12 (PX-166); Ex. 13

(PX-115). Sidney Powell engaged the Sullivan Strickler team and signed the

Statement of Work covering their unauthorized forensic collection of Coffee

County data. Ex. 2 at 105:16-25. Scott Hall coordinated Sullivan Strickler’s

unauthorized access to the Coffee County Elections Office. Id. at 136:12-25. Both

Ms. Powell and Mr. Hall have pleaded guilty in the criminal case brought by the

Fulton County District Attorney regarding their direct involvement in the Coffee




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County breaches.5 Dkt. 1728 at 10-11. Robert Sinners confirmed that he provided

his phone number to Eric Chaney, the phone number Eric Chaney texted to Misty

Hampton on the night of January 7, 2021, is his, and that he refused to provide his

phone records for January 2021 to the Plaintiffs. Ex. 14, Trial Vol. 3 Tr. at 49:15-

50:7, 53:10-12. Text messages and emails confirm many of the details regarding

the planning and execution of the breaches. As the Court concluded on summary

judgment, Mr. Hall, Ms. Latham, Ms. Hampton, and others “directed” the work

done by Sullivan Strickler, and Sidney Powell paid for it. Dkt. 1705 at 52. The

specific adverse inferences Plaintiffs seek are trustworthy under all of the

circumstances, corroborated by voluminous evidence, and will advance the search

for the truth regarding the Coffee County breaches and their implications for future

Georgia elections.

IV.   CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request the Court to admit

the Coffee County Witnesses’ Fifth Amendment invocations and draw the narrow

corresponding set of adverse inferences.




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 Kenneth Chesebro and Jenna Ellis also have pleaded guilty in the Fulton County
Case. Tamar Hallerman & David Wickert, Disavowing Trump, a tearful Jenna
Ellis pleads guilty in Fulton election probe, Atlanta Journal-Constitution (Oct. 24,
2023), https://www.ajc.com/politics/fourth-defendant-negotiates-plea-deal-with-
fulton-prosecutors/S3SO4MZ3MBGCJD6YD47ZE4MYQE/.


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     Respectfully submitted this 22nd day of January, 2024.

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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1, using

font type of Times New Roman and a point size of 14.

                                            /s/ David D. Cross
                                            David D. Cross




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
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DONNA CURLING, ET AL.,
Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER , ET AL.,
Defendants.

                         CERTIFICATE OF SERVICE

      I hereby certify that on January 22, 2024, a copy of the foregoing

PLAINTIFFS’      BRIEF     IN   SUPPORT        OF   MOTION         FOR   ADVERSE

INFERENCES was electronically filed with the Clerk of Court using the CM/ECF

system, which will automatically send notification of such filing to all attorneys of

record.

                                              /s/ David D. Cross
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